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 8
 9                                UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12    SOCORRO OLIVIA ALVITRE,                         Case No. 2:22-cv-06289-DMG-SK
13
                  Plaintiff(s),
                                                      Assigned for All Purposes to the Honorable
14                                                    Judge Dolly M. Gee
            vs.
15
      COLONIAL LIFE AND ACCIDENT
      INSURANCE COMPANY, et al.,                      JOINT RULE 26(F) REPORT
16
17                                                    Rule 26 Scheduling Conference
                  Defendant(s).
18                                                    Date: October 21, 2022
                                                      Time: 9:30 a.m.
19
20                                                    Complaint Filed: July 29, 2022
21                                                    Action Removed: September 2, 2022
22          In accordance with the Court’s Order issued on September 7, 2022 and pursuant to
23    Federal Rules of Civil Procedure (“FRCP”) Rule 26(f), Plaintiff SOCORRO OLIVIA
24    ALVITRE (“Plaintiff”) and Defendant COLONIAL LIFE & ACCIDENT INSURANCE
25    CO. (“Defendant”)(collectively, the “Parties”), by and through their undersigned counsel,
26    have completed the Rule 26(f) Conference and jointly submit this Report in anticipation of
27    the Scheduling Conference scheduled for October 21, 2022 at 9:30 a.m. before the
28    Honorable Dolly M. Gee.

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 1    1.    PRINCIPAL CASE ISSUES
 2          On July 29, 2022, Plaintiff filed her putative wage and hour class action complaint
 3    (“Complaint”) against Defendant in the Superior Court of the State of California for the
 4    County of Los Angeles asserting the following causes of action: (1) failure to pay state
 5    minimum wage; (2) failure to pay overtime compensation; (3) failure to pay meal period
 6    compensation; (4) failure to pay rest period compensation; (5) failure to furnish timely and
 7    accurate wage statements; (6) waiting time penalties; (7) failure to indemnify for all
 8    necessary expenditures and losses; and (8) unfair competition. Plaintiff purports to bring
 9    these claims on behalf of a putative class consisting of “all persons currently and formerly
10    employed by Defendant in California as insurance salespersons or in other non-exempt
11    positions with similar job titles, descriptions, and/or duties” within four years prior to the
12    filing of the Complaint. Plaintiff’s claims are primarily premised on the allegation that
13    Defendant improperly classified Plaintiff and the other members of the putative class as
14    “independent contractors,” when they were in fact employees as a matter of law.
15          On September 2, 2022, Defendant filed its Notice of Removal to the United States
16    District Court for the Central District of California pursuant to 28 U.S.C. §§ 1332(d), 1441,
17    1446 and 1453. More specifically, the Complaint satisfies all the requirements for federal
18    jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d).
19          Prior to filing its Notice of Removal, on September 1, 2022, Defendant filed its
20    Answer and affirmative defenses to the Complaint. Defendant generally denies Plaintiff’s
21    allegations of unlawful conduct and Labor Code violations and further denies that this
22    matter is suitable for class certification. Moreover, Defendant asserts that Plaintiff as well
23    as the alleged putative class members were California-domiciled independent contractors
24    who entered into contracts with Defendant to sell various types of insurance offered by
25    Defendant in California.      In addition, Defendant asserts that Plaintiff executed an
26    enforceable written arbitration agreement and Defendant intends to file its Motion to
27    Compel Arbitration.
28    ///

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 1           At this time, the Parties do not believe that the procedures of the current Manual for
 2    Complex Litigation should be utilized in this matter.
 3    2.     AMENDMENT OF PLEADINGS/ADDITIONAL PARTIES
 4           The Parties do not anticipate adding any parties at this time.
 5           This matter is related to Plaintiff’s separately filed Representative Action Complaint
 6    for Damages based on Private Attorney General Act (the “PAGA Action”) entitled Socorro
 7    Olivia Alvitre v. Colonial Life & Accident Insurance Co., et al., which is currently pending
 8    in the California Superior Court for the County of Los Angeles as case number
 9    22STCV12821. Plaintiff anticipates agreeing to stay the PAGA Action pending resolution
10    of this action.
11    3.     ISSUES TO BE DETERMINED BY MOTION
12           A.      Motion To Compel Arbitration
13           Defendant will file a Motion to Compel Arbitration based on a written arbitration
14    agreement executed by Plaintiff. Plaintiff intends to oppose this motion. After meeting
15    and conferring, the Parties propose the following briefing schedule for this motion:
16           -November 11, 2022: Defendant’s Opening Brief
17           -December 9, 2022: Plaintiff’s Opposition Brief
18           -December 23, 2022: Defendant’s Reply Brief
19           -January 13, 2023: Hearing on Motion
20           Given the Parties’ agreement that Defendant’s Motion to Compel Arbitration should
21    be adjudicated as a threshold matter, the Parties respectfully request that the Court refrain
22    from setting discovery, class certification, and trial related dates and deadlines until after
23    adjudication of Defendant’s motion. The Parties respectfully request that the Court set a
24    further Scheduling Conference to take place in January 2023 in order to set discovery, class
25    certification, and trial related dates and deadlines in the event that Defendant’s motion is
26    not granted.
27           B.      Other Motions
28           After completing written discovery and depositions, Defendant intends to bring a

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 1    Motion for Summary Judgment, or in the Alternative, Summary Adjudication that will
 2    address Plaintiff’s claims. Defendant also intends to oppose any motion seeking class
 3    certification. Additionally, Defendant intends to move for bifurcation of liability from the
 4    issue of damages at trial.
 5          Plaintiff intends to bring a motion for class certification, and believes that the class
 6    certification issue should be decided prior to any summary judgment or summary
 7    adjudication motions. Under Ninth Circuit law, a defendant is entitled to have a hearing on
 8    class certification before any merits-based determinations. See Wright v. Schock, 742 F.2d
 9    541, 544 (9th Cir. 1984). This makes practical sense, because a defendant could prevail on
10    the merits of an issue as to one proposed class representative, only to have another file the
11    same case on behalf of the same putative class. Unless a decision on the merits is postponed
12    until after the class issues are decided, a defendant is subject to one-way intervention,
13    which would allow potential class members to elect whether to join in the action depending
14    upon the outcome of the decision on the merits. Thus, if the merits were decided favorably
15    to the named plaintiff, and notice to the class followed such determination, most class
16    members would join in the action, whereas they may decline if the determination was
17    against the named plaintiff. Accordingly, Plaintiff believes that the class certification issue
18    should be decided first, unless Defendant agrees to waive the protections against one-way
19    intervention.
20          If the Court certifies Plaintiff’s class action claims following the ruling on Plaintiff’s
21    anticipated motion for class certification, Plaintiff intends to file a motion for summary
22    judgment and/or partial summary judgment.
23    4.    CONSENT TO MAGISTRATE JUDGE
24          The Parties do not consent to have a magistrate judge conduct all further proceedings
25    including trial and entry of judgment.
26    5.    DISCOVERY
27          A.        Initial Disclosures
28          The Parties have agreed to exchange initial disclosures by November 7, 2022.

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 1           B.        Preservation of Evidence
 2           The parties have met and conferred pursuant to Fed. R. Civ. P. Rule 26(f) regarding
 3    reasonable and proportionate steps taken to preserve evidence relevant to the issues
 4    reasonably evident in this action.
 5           C.        Discovery Plan
 6           The Parties have not engaged in formal discovery. Given Defendant’s intent to file
 7    its Motion to Compel Arbitration, the Parties believe that setting a specific discovery
 8    schedule at this time is premature. As a result, the Parties propose the following dates:
 9           Initial Disclosures: November 7, 2022.
10           Designation of experts: To be determined.
11           Discovery cutoff: To be determined.
12           Further, Defendant asserts that discovery should be conducted in two phases: (1)
13    first, discovery should be limited to class certification issues only; and (2) second,
14    discovery regarding the merits of the claims should be permitted only after class
15    certification.     Moreover, Defendant asserts that a protective order will be necessary to
16    protect the disclosure of confidential, private, trade secret and privileged information.
17    Discovery relating to the identity and contact information of putative class members should
18    be subject to a protective order and follow the procedures set forth in Belaire-West
19    Landscape, Inc. v. Superior Court, 149 Cal. App. 4th 554 (2007).
20           Plaintiff Acknowledges that prior to class certification, discovery will be focused
21    on issues that are relevant to class certification, but asserts, as recognized by the United
22    States Supreme Court and California Supreme Court, that there may often be an overlap
23    between certification issues and merits issues, and there therefore may be a need for
24    discovery also related to the merits prior to class certification. See, e.g., Wal-Mart Stores,
25    Inc. v. Dukes, 564 U.S. 338, 351–52; Brinker v. Superior Court, 53 Cal.4th 1004, 1023–
26    24 (2012).
27    6.     LAW AND MOTION SCHEDULE
28           Given Defendant’s intent to file its Motion to Compel Arbitration, the Parties believe

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 1    that setting a specific law and motion schedule (other than the schedule relating to the
 2    Motion to Compel Arbitration) at this time is premature. As a result, the Parties propose
 3    the following dates:
 4             Motion to Compel Arbitration:
 5                   -November 11, 2022: Defendant’s Opening Brief
 6                   -December 9, 2022: Plaintiff’s Opposition Brief
 7                   -December 23, 2022: Defendant’s Reply Brief
 8                   -January 13, 2023: Hearing on Motion
 9             Hearing of Motion for Class Certification: To be determined.
10             Hearing of dispositive motions: To be determined.
11    7.       SETTLEMENT AND ADR
12             The Parties have not engaged in settlement discussions to date. The Parties have
13    discussed ADR in accordance with Local Rule 26-1(c). Given Defendant’s intent to file
14    its Motion to Compel Arbitration, the Parties agree that it is premature to agree to a
15    particular form of ADR until after a ruling on the Motion to Compel Arbitration.
16    8.       TRIAL
17             Plaintiffs have demanded a jury trial.
18             Given Defendant’s intent to file a Motion to Compel Arbitration, the Parties believe
19    that it is premature to set a trial date and any trial-related dates.
20             Estimating the number of days trial may take is difficult as this determination
21    depends on whether class certification is granted and, if so, the nature of the class for which
22    certification is granted. Nonetheless, the Parties estimate the trial length to be 5-10 days.
23    9.       OTHER ISSUES AFFECTING STATUS/MANAGEMENT OF CASE
24             At this time, the Parties are not aware of issues affecting the status or the
25    management of the case other than the issues already discussed herein.
26    10.      SEVERANCE AND BIFURCATION
27             Defendant intends to move for bifurcation of liability from the issue of damages at
28    trial.

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 1    Dated: October 7, 2022                  JACKSON LEWIS P.C.
 2
 3
                                              By:     /s/Michael R. Minguet
 4                                                  Veronica T. Hunter
 5                                                  Michael R. Minguet
                                                    Judy Kang
 6
 7                                                  Attorneys for Defendant
                                                    COLONIAL LIFE & ACCIDENT
 8                                                  INSURANCE CO.
 9
10
11    Dated: October 7, 2022                  HAINES LAW GROUP, APC
12
13
                                              By:    /s/Fletcher W. Schmidt
14                                                  Fletcher W. Schmidt
15                                                  Matthew K. Moen

16                                                  Attorneys for Plaintiff
17                                                  SOCORRO OLIVIA ALVITRE

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